Captured at: 04/03/2023, 11:05 AM                                                             Case 6:20-cv-00585-ADA Document 272-11 Filed 10/04/23 Page 1 of 1


URL: https://store.google.com/magazine/compare_pixel?hl=en-US&toggler0=Pixel+4+XL&toggler1=Pixel+4&to
ggler2=Pixel+3a
                                                                         Fresh deals are here. Celebrate spring with savings on products you love. Browse offers


©          Phones           Earbuds       Watches        SmartHome                 Laptops      Accessories           Subscriptions            Offers
                                                                                                                                                                                                                                       a2 @


                                                                                 Which Pixel phone is right for
                                                                                                                                you?




                             Pixel 4 XL                                                   v               Pixel 4                                                 v             Pixel 3a                                                v




                                                                                                                              Available colors

                                                                                                                                                                                                             oe




                                                                                                                                Dimensions!




                                                                                                          5.7°h                                                                                             5.6"d




                                                                                                                                                                                                        2.8"w




                                                                                                                                 Network?

                        4G                                                                          4G                                                                      4G




                                                                                                                                   Display
                        Fullscreen 6.3 inch / 160.0 mm display                                      Fullscreen 5.7 inch/ 144.7 mm display                                   Fullscreen 5.6 inch / 142.2mm display

                        QHD+ flexible OLED at 537 ppi                                               FHD+ flexible OLED at 444 ppi                                           FHD+ OLED at 441 ppi

                        19:9                                                                        19:9                                                                    18.5:9

                        Smooth Display (up to 90hz)*                                                Smooth Display (up to 90hz)*




                        HDR Support (UHDA Certification)                                            HDR Support (UHDA Certification)




                                                                                                                                   Battery

                        Typical 3700 mAh*                                                           Typical 2800 mAh>                                                       Typical 3000 mAh$
                        All-day battery’                                                            All-day battery”                                                        All-day battery’



                        Fast charging®                                                              Fast charging*                                                          Fast charging*

                        Fast wireless charging®                                                     Fast wireless charging*




                                                                                                                                   Design
                        Soft touch glass back                                                       Soft touch glass back                                                   Polycarbonate unibody

                        Active Edge™                                                                Active Edge™                                                            Active Edge™

                        Water resistant’                                                            Water resistant’




                                                                                                                        Memory and storage
                        6        RAM                                                                6 GB RAM                                                                4GB RAM

                        64 GB or 128 GB",             plus unlimited storage                        64 GB or 128 GB",              plus unlimited storage                   64GB storage”, plus unlimited storage for
                        at   high quality with Google Photos"                                       at    high quality with Google Photos"                                  photos and videos at high quality with
                                                                                                                                                                            Google Photos"


                                                                                                                                  Security
                        Titan” M security module                                                    Titan™ M security module                                                Titan™ M security module




                                                                                                                                                                            Pixel Imprint™




                                                                                                                                Processors

                        Qualcomm® Snapdragon™ 855 with Octa-                                        Qualcomm® Snapdragon™ 855 with Octa-                                    Qualcomm® Snapdragon™ 670 with Octa-
                        Core                                                                        Core                                                                    Core

                        Pixel Neural Core™                                                          Pixel Neural Core™




                                                                                                                               Rear camera


                        12.2 MP dual-pixel                                                          12.2 MP dual-pixel rear camera                                          12.2MP dual-pixel
                        rear camera                                                                                                                                         rear camera


                                 aperture                                                           £/1.7 aperture                                                          £/1.8 aperture
                        Auto-focus with dual-pixel phase                                            Auto-focus with dual-pixel phase                                        Autofocus + dual pixel phase detection
                        detection                                                                   detection

                        Optical     +   electronic image stabilization                              Optical       +   electronic image stabilization                        Optical     +   electronic image stabilization

                        77° field of view                                                           77° field of view

                        1.4 um      pixel width                                                     1.4 um      pixel width


                        16 MP telephoto camera                                                      16 MP telephoto camera


                        £/2.4 aperture                                                              £/2.4 aperture
                        52° field of view                                                           52° field of view

                        1.0 um      pixel width                                                     1.0 um        pixel width
                        Spectral + flicker sensor                                                   Spectral + flicker sensor




                                                                                                                               Front camera

                        8 MP wide-angle camera                                                      8 MP wide-angle camera                                                  8MP front camera

                                  fixed focus                                                                  fixed focus                                                           aperture, fixed focus


                        90° field of view                                                           90° field of view

                        1.22 um pixel width                                                         1.22 um pixel width

                        NIR flood emitter                                                           NIR flood emitter

                        NIR dot projector                                                           NIR dot projector

                        2 NIR cameras                                                               2 NIR cameras




                                                                                                                              Camera features


                                                                                                    Group Selfie Cam                                                        -




                        Night Sight                                                                 Night Sight                                                             Night Sight
                        Top Shot                                                                    Top Shot                                                                Top Shot
                        Portrait Mode                                                               Portrait Mode                                                           Portrait Mode

                        Super Res Zoom                                                              Super Res Zoom                                                          Super Res Zoom
                        Motion Auto Focus                                                           Motion Auto Focus                                                       Motion Auto Focus

                        Live HDR+                                                                   Live HDR+

                        Frequent Faces                                                              Frequent Faces
                        Dual exposure controls                                                      Dual exposure controls




                        Portrait Light                                                              Portrait Light




                                                                                                                                    Audio


                        Dual, stereo speakers                                                       Dual, stereo speakers                                                   Stereo speakers

                        USB-C® audio                                                                USB-C™ audio                                                            USB-C® audio

                        -                                                                           -
                                                                                                                                                                            3.5 mm     audio jack

                                                                                                                                 Pixel Pass

                        Not eligible                                                                Not eligible                                                            Not eligible




                                                                                                                          Operating system
                        Android 10                                                                  Android 10                                                              Android 9 Pie




 1
     Dimensions and         weight vary by configuration and manufacturing process.
 ? Contact carrier for details.         5G service is carrier    dependent. Learn more about 5G network compatibility.
 3
     Requires a 5G data plan (sold separately). 5G service not available on all carrier networks or in all areas. Contact carrier for details. 5G service, speed and performance depend on many factors including, but not limited
     to, carrier network capabilities, device configuration and capabilities, network traffic, location,
     apply.    Learn more about 5G network        compatibility.
                                                                                                                       signal strength
                                                                                                                       and signal obstruction. Actual results may vary. Some features not available in all areas. Data rates may



 4
     Not available for all apps or content.       Display automatically adjusts to optimize for best viewing and battery performance.
     Estimate of     typical capacity based upon testing and expected cell behavior.
 ®
     Pixel 7 Pro and Pixel 7: Fast wired charging rates (up to 21W on Pixel 7 and up to 23W on Pixel 7 Pro) are based upon use of the Google 30W USB-C® Charger plugged into a wall outlet. Actual results may be slower.
     Adapters sold separately. Charging speed based upon testing with device batteries drained to 1% and charged with Google 30W USB-C® Charger. Charging testing conducted by Google in mid-2022 on preproduction
     hardware and software using default settings with the device powered on. Charging speed depends upon many factors including usage during charging, battery age, and ambient temperature. Actual charging speed
     may be slower. Wireless charging rates up to 21W (Pixel 7) and up to 23W (Pixel 7 Pro) charging with Google Pixel Stand (2nd gen) (sold separately). Up to 12W with Gi-certified EPP chargers (sold separately). Actual
     results may be slower.


     Pixel 6a: Wired charging rates up to 18W based on use of Google 30W USB-C? or Google 18W USB-C® Charger plugged into a wall outlet. Actual results may be slower. Adapters sold separately. Compatible with USB PD
     3.0 PPS adapters.


     Pixel 5/Pixel 4a (5g): Up to 12 W with Pixel 5 charging with Qi certified EPP charger (sold separately). Actual results may be slower. Qi-certified.

     Pixel 4a: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may vary.


     Pixel 4 / Pixel 4 XL: Up to 10 W with Pixel 4 or Pixel 4 XL charging with Pixel Stand (sold               separately). Actual results may vary.
     Pixel 3a: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.


     Pixel 3 / Pixel 3 XL: Up to 10 W with Pixel 3 and Pixel 3 XL charging with Pixel Stand (sold                 separately). Actual results may vary.

               /
     Pixel 2 Pixel 2 XL: Up to 18W wired charging rates are based upon use of the included                     charger plugged into a wall outlet. Actual results may be slower.

           /
     Pixel Pixel XL: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.

     Pixel 7 Pro and Pixel 7: For “24-hour”: Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk, data, standby, and use of other features. Average battery life during
     testing was approximately 31 hours. Battery testing conducted on a major carrier network. For “Up to 72 hours”: Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk,
     data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables various features including 5G connectivity). Battery testing conducted on a major carrier network. For both
     claims: Battery testing conducted in California in early 2022 on pre production hardware and software using default settings, except that, for the “up to 72 hour” claim only, Extreme Battery Saver mode was enabled.
     Battery life depends upon many factors and usage of certain features will decrease battery life. Actual battery life may be lower.

     Pixel 6a: For “24-hour”: Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk, data, standby, and use of other features. Average battery life during testing was
     approximately 29 hours. Battery testing conducted using Sub-6 GHz non-standalone 5G (ENDC) connectivity. For “Up to 72 hours”: Estimated battery life based on testing using a median Pixel user battery usage profile
     across a mix of talk, data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables various features including 5G connectivity). Battery testing conducted on a major

     carrier network. For both claims: Battery testing conducted in California in early 2022 on pre-production hardware and software using default settings, except that, for the “up to 72 hour” claim only, Extreme Battery

     Saver mode was enabled, Battery life depends upon many factors and usage of certain features will decrease battery life. Actual battery life may be lower.


     Pixel 6 Pro and Pixel 6: For "beyond 24 hours”: Estimated battery life based on testing using a mix of talk, data, standby, and use of other features. Average battery life during testing was 34 hours. Battery life depends

                                                                                                                                  a
     upon many factors and usage of certain features will decrease battery life. Battery testing conducted by third party in California in mid 2021 on pre-production hardware and software, using default settings. Battery
     testing conducted using two major carrier networks using Sub-6 GHz non-standalone 5G (ENDC) connectivity. Actual battery life may be lower.

     For “all-day”: Maximum battery life based on testing using a mix of talk, data, standby, and use of other features. Testing conducted on two major carrier networks using Sub-6 GHz non-standalone 5G (ENDC)
     connectivity. For “Up to 48 hours /2 days”: Maximum battery life based on testing using a mix of talk, data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables
     various features including 5G connectivity). Testing conducted on two major carrier networks. For both claims: Pixel Sa with 5G battery testing conducted by a third party in California in early 2021 on pre-production

     hardware and software using default settings, except that, for the “up to 48 hour/ 2 days claim” only, Extreme Battery Saver mode was enabled. Battery life depends upon many factors and usage of certain features will
     decrease battery life, Actual battery life may be lower.


     Pixel 5 and Pixel 4a (5g): Maximum battery life based on testing using a mix of talk, data, standby, and use of other features. Battery life depends upon many factors and usage of certain features will decrease battery
     life, Pixel 4a (5G) and Pixel 5 battery testing conducted by a third party in California in mid 2020 on pre-production hardware and software, using default settings. Testing conducted on two major carrier networks using
     Sub-6 GHz non-standalone 5G (ENDC) connectivity, Actual battery life may be lower.


     Pixel 4a: Approximate battery life based on a mix of talk, data, standby, and use of other features, with always on display off. An active display and other usage factors will decrease battery life. Pixel 4a battery testing
     conducted in Mountain View, California in early 2020 on pre-production hardware and software. Actual results may vary.


     Pixel 4 / Pixel 4 XL: Approximate        battery life based on a mix of talk, data, standby, mobile hot spot and use of other features, with Motion Sense off and always on display off. Use of Motion Sense, an active display or
     data usage will decrease battery life. Pixel 4 and 4 XL testing conducted in Mountain View, California in August 2019 on pre-production hardware and software. Actual results may vary.


     Pixel 3a and Pixel 3a XL: Approximate battery life based on a mix of talk, data, standby, mobile hot spot and use of other features, with always on display off. An active display or data usage will decrease battery life.
     Actual results may vary.


     Pixel 3 and Pixel 3 XL: Approximate battery life based on a mix of talk, data, standby and use of other features, with always on display off and mobile hotspot off. An active display or data usage will decrease battery life,
     Wired charging: rates are based on use of the included charger. Wireless charging: Up to 10 W with Pixel 3 and Pixel 3 XL charging with Pixel Stand (sold separately). Actual results may vary.


     Pixel 2 and Pixel 2 XL: Approximate battery life based on a mix of talk, data, and standby use with always on display off. Requires use of included charger. An active display or data usage will decrease battery life. Actual
     results may vary, see website for details.


     Pixel and Pixel XL: Battery use statistics are approximate and represent mixed use of talk, standby, web browsing, and other features, according to an average user profile as defined by Google. Uses that involve an
     active    display or data usage will use battery more quickly, actual results may vary. Charging rates are based on use of the included USB Type-C 18W charger.
 ®


     Designed to charge Gi-certified devices. Use of reverse wireless charging significantly reduces Pixel battery life. Cases may interfere with charging and will reduce charging speed. Charge speeds may vary. Learn more
     about wireless charging.

     Pixel 7 Pro and Pixel 7: Designed to comply with water protection rating IPX8 under IEC standard 60529 when each device leaves the     factory but device is not waterproof. The accessories are not water resistant. Water
     resistance is not a permanent condition, and diminishes or is lost over time due to normal wear and tear, device repair, disassembly or damage. Dropping your device may result in loss of water resistance. Liquid damage
     voids the warranty. See g.co/pixel/water.


     Pixel 6a: Designed to comply with water protection rating IPX7 under IEC standard 60529 when each device leaves the                            factory but device is not waterproof. The accessories are not water resistant. Water resistance is
     not a permanent condition, and diminishes or
     warranty. See g.co/pixeliwater.
                                                           is     lost over time due to normal wear and tear, device repair, disassembly or damage. Dropping your device may result in loss of water resistance. Liquid damage voids the



     Pixel Sa with 5G has a water protection rating of IPX7 under IEC standard 60529.                    Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to normal
     wear and tear, repair,      disassembly or damage.

     Pixel 5: Pixel 5 has a water protection rating of IPX8 under IEC standard 60529.                   Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to normal
     wear and tear,     repair, disassembly or damage.

     Pixel 4 and Pixel 4 XL have a water protection rating of IPX8 under IEC standard 60529. Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to
     normal wear and tear, repair, disassembly or damage.


     Pixel 3 and Pixel 3 XL have a water protection rating of IPX8 under IEC standard 60529.                   Charger and accessories are not water resistant.

     Pixel 2 and Pixel 2 XL has a water protection rating of IP67 under IEC standard 60529. Charger and accessories are not water resistant.



      Storage specifications refer to capacity before formatting. Actual formatted               capacitywill      be less.

 ™
     Pixel 5, Pixel 4a (5G), Pixel 4a, Pixel 4 and Pixel 4 XL: Google Photos offers unlimited online storage for all photos and videos uploaded in high-quality. Photos and videos uploaded in high-quality may be compressed or
     resized,      Requires Google Account and internet connection. Data rates may apply. Learn more about                      uploadingphotos     and videos.


     Pixel 3a and Pixel 3a XL: Google Photos offers free unlimited online storage for all photos and videos uploaded in high-quality. Photos and videos uploaded in high-quality may be compressed or resized. Requires Google
     Account. Data rates may apply. Learn more                  about
                                                                        uploadingphotos   and videos.


     Pixel 3 and Pixel 3 XL: Free unlimited online       original-quality storage for all photos and videos uploaded to Google Photos from Pixel 3 through 1/31/2022. Photos and videos uploaded before 1/31/2022 will remain free at
     original-quality. Requires Google Account. Data rates may apply. Learn more about                      uploading photos     and videos.


     Pixel 2 and Pixel 2 XL: Free, unlimited original-quality storage for photos and videos taken with Pixel through the end of 2020, and free, unlimited high-quality storage for photos taken with Pixel afterwards.


     Pixel and Pixel XL: Unlimited original quality storage of photos/videos taken with your Pixel, high quality for all other photos/videos. Requires Google Account. Data rates may apply.

 ® Maximum resolution and field of view with RAW
                                                                  image files setting turned on. Setting is turned off by default. See g.co/pixel/photoediting for more information.
     Measured        diagonally; dimension may vary by configuration and manufacturing process.
     Magic Eraser may not work on all image elements.
     HDR brightness measured at 100% on-pixel ratio. Peak Brightness measured at 5% on-pixel ratio.

     Coming soon. Restrictions apply. Some data is not transmitted through VPN. Not available in all countries. All other Google One membership benefits sold separately. Pixel VPN offering does not impact price or benefits
     of Google One Premium plan. Use of VPN may increase data costs depending on your plan. See g.co/pixel/vpn for details.

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                                                                                                                                                                             Shipping options                       Help Center

                                                                                                                                                                             Tracking a package                     Contact Us


                                                                                                                                                                             Country availability                   Financing

                                                                                                                                                                            Repairs                                 Device recycling


                                                                                                                                                                             Installation                           Sustainability

                                                                                                                                                                             Ideas & Info                           Gift returns

                                                                                                                                                                                                                                                 PLAINTIFF'S
                                                                                                                                                                                                                    Refurbished                    EXHIBIT

                                                                                                                                                                                                                                               PTX-450
                                                                                                                                                                                                                                               6:20-cv-572/580/584/585

                                                                                                                                                                                                                    Trade-in
                                                                                                                                                                                                                                               PTX-450-0001


                                                                                                                                                                                                                    Pixel for Business


                                                                                                                                                                                                                    Locations




                    VYOHOd                                                                         SE united states
                                                                                                                                  Privacy          Google Nest Commitment to Privacy          Sales Terms           Terms of Service        Careers


                                                                                                                                                                                                                                            BRAZOS-GOOALL-0012553
